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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

HUNT CONSTRUCTION GROUP, INC.,                   §
              PLAINTIFF,                         §
                                                 §
V.                                               §   CIVIL NO. A-17-CV-00215-LY
                                                 §
COBB MECHANICAL                                  §
CONTRACTORS, INC., AND                           §
LIBERTY MUTUAL                                   §
INSURANCE COMPANY,                               §
               DEFENDANTS.                       §
                                                 §


                       ORDER ON REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE

       Before the court is the above styled and numbered action. By Order rendered March 14,2018

the court referred Defendant Liberty Mutual Insurance Company's Motion to Dismiss Count VII of

Hunt's Amended Complaint, or, Alternatively for More Definite Statement filed February 19,2018

(Clerk's Document No. 72), Plaintiff Hunt Construction Group, Inc.'s Memorandum in Opposition

to Liberty's Motion to Dismiss Count VII filed March 5, 2018 (Clerk's Document No. 76), and

Liberty's Reply in Support of its Motion to Dismiss Count VII of Hunt's Amended Complaint, or,

Alternatively for More Definite Statement filed March 12, 2018 (Clerk's Document No. 77) to the

United States Magistrate Court for a report and recommendation (Clerk's Document No. 78).    See


28 U.S.C.   §   636(b)(1)(B); Fed. R. Civ. P. 72; Loc. R. W.D. Tex. Appx. C, R. 1(c). On June 26,

2018, the magistrate judge rendered a Report and Recommendation of the United States Magistrate

Judge recommending that this court deny Liberty Mutual's motion to dismiss or in the alternative

motion for a more definite statement (Clerk's Document No. 94). The parties received the report

and recommendation on June 26, 2018.
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         A party may serve and file specific written objections to the proposed findings and

recommendations of a magistrate judge within fourteen days after being served with a copy of the

report and recommendation, thereby securing a de novo review by the district court. See 28

U.S.C.   §   636(b); Fed. R. Civ. P. 72(b). A party's failure to timely file written objections to the

proposed findings, conclusions, and recommendations in a report and recommendation bars that

party, except upon grounds of plain error, from attacking on appeal the unobjected-to proposed

factual findings and legal conclusions accepted by the district court. See Douglass v. United Servs.

Auto. Ass 'n, 79 F.3d 1415 (5th Cir. 1996) (en banc). Objections,    if any, were due to be filed July

10, 2018. To date no objections have been filed.

         The court, having reviewed the entire record and finding no plain error,

         IT IS ORDERED that for substantially the reasons stated therein, the Report and

Recommendation of the United States Magistrate Judge signed June 26, 2018 (Clerk's Document

No. 94) is hereby ACCEPTED AND ADOPTED.

         IT IS FURTHER ORDERED that Defendant Liberty Mutual Insurance Company's Motion

to Dismiss Count VII of Hunt's Amended Complaint, or, Alternatively for More Definite Statement

filed February 19, 2018 (Clerk's Document No. 72) is DENIED.

         SIGNED this      f/J'day of July, 2018.

                                                LEL
                                                UNI ED STATES         ISTRICT JUDGE




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